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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                 Case No. 1:12-cr-93
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
MICHAEL MAGIK JONES,                )
                                    )
                  Defendant.        )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on June 13, 2012, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Michael Magik Jones entered a plea of guilty to counts 4, 7, 10, and 11 of the

Indictment charging him with distribution of heroin, in violation of 21 U.S.C. §§ 841(a)(1),

(b)(1)(C), in exchange for the undertakings made by the government in the written plea agreement.

On the basis of the record made at the hearing, I find that defendant is fully capable and competent

to enter an informed plea; that the plea is made knowingly and with full understanding of each of the

rights waived by defendant; that it is made voluntarily and free from any force, threats, or promises,

apart from the promises in the plea agreement; that the defendant understands the nature of the

charge and penalties provided by law; and that the plea has a sufficient basis in fact.

               I therefore recommend that defendant's plea of guilty to counts 4, 7, 10, and 11 of the

Indictment be accepted, that the court adjudicate defendant guilty of the charge, and that the written
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plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Dated: June 13, 2012                          /s/ Joseph G. Scoville
                                              U.S. Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than 14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140 (1985);
United States v. Branch, 537 F.3d 582, 587 (6th Cir.), cert. denied, 129 S. Ct. 752 (2008); Frontier
Ins. Co. v. Blaty, 454 F.3d 590, 596-97 (6th Cir. 2006). General objections do not suffice. Spencer
v. Bouchard, 449 F.3d 721, 724-25 (6th Cir. 2006); see Frontier, 454 F.3d at 596-97; McClanahan
v. Comm’r of Social Security, 474 F.3d 830, 837 (6th Cir. 2006).
